         Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 1 of 14




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SAMIRA SIERRA, AMALI SIERRA,
 RICARDO NIGAGLIONI, ALEX
 GUTIERREZ, and CHARLES WOOD, on                                   No. 20 Civ 10291 (CM)(GWG)
 behalf of themselves and all others similarly                     No. 20 Civ. 10541 (CM)(GWG)
 situated,

                         Plaintiffs,

         -against-

 CITY OF NEW YORK, a municipal entity; and
 BILL DE BLASIO, TERENCE A. MONAHAN,
 KENNETH LEHR, ROBERT GALLITELLI,
 HARRY WEDIN, JOHN D’ADAMO, GERARD
 DOWLING, JULIO DELGADO, KENNETH
 RICE, THOMAS GARGUILO, JOHN
 MIGLIACCIO, THOMAS MOSHER,

                         Defendants.



                            DECLARATION OF ALISON FRICK


        Alison Frick declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true and correct:

        1.      I am a partner at Kaufman Lieb Lebowitz & Frick LLP. My firm, along with

Hamilton Clarke, LLP, Rickner PLLC, and Michael Spiegel, Esq. (collectively, “Plaintiffs’

counsel” and “Counsel for Wood and Sierra”) represent Plaintiffs in this matter. I am

duly qualified to practice in the State of New York and before this Court.

        2.      I submit this Declaration on behalf of the Named Plaintiffs, 1 individually

and on behalf of the class they seek to represent (collectively “Plaintiffs”), in support of


1 The Named Plaintiffs are Samira Sierra, Amali Sierra, Ricardo Nigaglioni, Alex Gutierrez, and Charles

Henry Wood.



                                                        1
        Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 2 of 14




their unopposed motion for preliminary approval of their class action settlement,

conditional certification of the settlement class, appointment of Plaintiffs’ counsel as

class counsel, approval of the proposed notice of settlement plan, and approval of the

proposed claims administrator.

       3.     Attached as Exhibit 1 is the Stipulation of Settlement, signed by attorneys

for Plaintiffs and Defendants. The Stipulation attaches the proposed Class Notice

(Ex. A), Summary Class Notice (Ex. B), and Claim Form (Ex. C).

Discovery Was Complex, Lengthy, and Hard Fought

       4.     This action was originally filed as two separate cases, Sierra, et al. v. City

of New York, et al., No. 20 Civ 10291, and Wood, et al. v. City of New York, et al.,

No. 20 Civ. 10541. The two cases were consolidated with nine others for purposes of

discovery (“the Consolidated Cases”). On a motion by Sierra and Wood, this Court

ordered the two cases consolidated for all purposes on September 15, 2022, Dkt. #740.

       5.     Attorneys for the Consolidated Cases worked closely to coordinate and

manage discovery. Together with the plaintiffs in the Consolidated Cases, Plaintiffs

propounded dozens of discovery requests, reviewed tens of thousands of documents

produced by Defendants, and litigated dozens of discovery disputes. Defendants

produced more than 225,000 documents, including thousands of hours of video and

audio recordings.

       6.     Counsel for Wood and Sierra took a leading role among the attorneys for

the Consolidated Cases in a variety of matters. For example, we indexed the body worn

camera and TARU footage to help elucidate missing footage; coordinated the review of

dozens of CCRB files related to the Mott Haven protest; and led subcommittees to

prepare for high-level depositions.


                                                 2
            Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 3 of 14




       7.       Counsel for the Sierra and Wood plaintiffs also took a lead role on various

discovery matters, including successful motions to compel the production of relevant

CCRB files, to permit extended depositions of high-level police officials, and to obtain

video footage from body worn cameras. Sierra and Wood Counsel also spent significant

time conferring with the City about discovery issues in an effort to obtain discovery

without the need for court intervention. For example, Plaintiffs’ Counsel were lead on

several conferrals with the City about the production of surveillance video footage,

ultimately securing the release of Aviation Unit and ARGUS surveillance footage (among

other documents) crucial to the investigation of the events that occurred around the

Mott Haven protest at the heart of the Sierra and Wood case. I spent significant time

organizing and litigating disputes with Defendants over deposing high-level NYPD

officers.

       8.       Through discovery, Plaintiffs were able to discover the identities of the

approximately 320 people who were arrested at the Mott Haven protest and removed in

police custody, identified the highest-level NYPD officials who were responsible for

planning and overseeing the NYPD’s operation in Mott Haven, and identifying critical

evidence from within thousands of hours of videos and hundreds of thousands of pages

of documents.

       9.       The Named Plaintiffs were all deposed in 2021, and the Wood and Sierra

teams participated in questioning witnesses in at least 18 depositions of NYPD officers

and defendants.

       10.      Nearly all depositions of Defendants were delayed while the parties

litigated disputes over paper discovery and, later, discussed settlement. In late 2022, as

the stay of discovery expired and depositions were scheduled to resume, Sierra and


                                                  3
        Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 4 of 14




Wood counsel were actively preparing to take depositions of high-level NYPD officials,

until the parties reached a settlement agreement in principle in early December. For

example, Mr. Spiegel and I had begun outlining deposition questions for several of the

high-level officers we had told counsel for the Consolidated Cases that we would lead.

The Parties Engaged in Lengthy Settlement Discussions

      11.    In December 2021, Defendants requested a settlement demand from the

Sierra-Wood Plaintiffs, and in September 2022, the parties met with Rebecca Price, the

Court’s Director of the Alternative Dispute Resolution, for a mediation session.

      12.    The parties met again in person in October 2022. Present were all five lead

attorneys for the Sierra and Wood Plaintiffs: Douglas Lieb, Rob Rickner, Joshua

Moskovitz, Mike Spiegel, and I. Also present were New York Law Department senior

attorneys Omar Siddiqi, Genevieve Nelson, and Nadine Ibrahim, and a representative

from the New York City Comptroller’s office.

      13.    At that session, we used video footage from protestors, police Aviation and

TARU units, police and private surveillance cameras, and police body worn cameras, as

well as audio recordings from Department of Investigation and Civilian Complaint

Review Board interviews and NYPD radio transmissions, to demonstrate that the

NYPD’s actions that night were coordinated and approved at the highest levels.

      14.    The parties continued discussing settlement in the weeks following the in-

person session.

      15.    On December 2, 2022, the parties reached agreement on the principal

terms of the settlement. Negotiations continued to resolve the remaining terms of the

agreement.




                                               4
        Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 5 of 14




       16.    The Named Plaintiffs were kept abreast of and provided input into all

aspects of these negotiations. We met with them to discuss an initial demand and had

continuous discussions throughout the process to obtain authority for subsequent

moves. Our clients expressed deep enthusiasm for the settlement agreement.

       17.    Counsel for Plaintiffs and Defendants signed the Settlement Agreement on

February 28, 2023. To date, it is the only class action related to the NYPD’s response to

the 2020 protests to reach a settlement.

The Proposed Class

       18.    The proposed class consists of the approximately 320 people who were

detained and/or subjected to force by police while protesting police brutality on June 4,

2020 in the Mott Haven neighborhood of the Bronx. Excluded from the class are those

who entered into an individual release of claims in a settlement agreement with the City

that covers the June 4, 2020 arrest.

       19.    Specifically, the class is defined as “all persons who were detained,

arrested, and/or subjected to force by police officers on June 4, 2020, on East 136th

Street between Brook Avenue and Brown Place in the Bronx during the “George Floyd

protest” in Mott Haven, and all persons who also were given a summons or Desk

Appearance Ticket following their arrest at that location.” Agr. ¶ 32.

       20.    Plaintiffs’ Counsel have identified nearly all of the proposed class members

by reviewing records of summonses and desk appearance tickets given to protestors on

June 4, 2020, creating a list of those arrestees, and cross-checking with Defendants that

each person’s arrest was at the Mott Haven protest and not elsewhere.

       21.    On information and belief, fewer than 100 proposed class members have

already resolved their claims against the City (many for less than $21,000 inclusive of


                                                5
        Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 6 of 14




attorneys’ fees). Upon sufficient proof that they have indeed settled their claims, they

will not be included in the class.

Class Notice and Payment Procedure

       22.    The proposed Class Notices are attached as Exhibits A and B to the

Settlement Stipulation. The “long form” notice attached at Exhibit A will be mailed to

every known class member and posted on a public website (in both English and

Spanish); and the “short form” notice attached at Exhibit B will be published in two

newspapers, one in English and one in Spanish. Both the long and short form Class

Notices contain all the information required by Rule 23(c)(2)(B) and describe the terms

of the proposed settlement and provide specific information regarding the date, time,

and place of the fairness hearing.

       23.    Per the Settlement Stipulation, within fifteen days after the Court

preliminarily approves the settlement and certifies the class, the City begin payment to

the Claims Administrator and the parties will provide the Claims Administrator

information about class members they have gathered.

       24.    The Claims Administrator will use that information to mail the Claims

Package—the long form Class Notice and Claim Form (both in English and in Spanish)—

to the known class members. The Administrator will also establish a website with

information on the settlement (including the full Settlement Stipulation and long form

Class Notice) and a mechanism for class members to submit a Claim Form online. The

short form Class Notice will be published in The Daily News and El Diario, in English

and Spanish respectively. The Parties have agreed to retain Rust Consulting, Inc., which

has extensive experience working as a claims administrator for class actions. Attached

as Exhibit 2 is a declaration filed by the then-Senior Vice President of Rust in Stinson


                                                6
         Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 7 of 14




v. City of New York et al., 10 Civ. 4228 (S.D.N.Y.), detailing the company’s

qualifications.

        25.     Class members will have 180 days after Preliminary Approval to submit

Claim Forms, to opt out of the settlement, or to file an objection to the settlement.

        26.     Unless there is an appeal of a final approval of the settlement, the Class

Administrator will start making payments to class members who have submitted timely

and valid Claim Forms 55 days after the Court’s final approval order.

        27.     Finally, the Settlement Stipulation provides that the City will pay

Plaintiffs’ reasonable attorneys’ fees and costs separately, meaning, it will not reduce the

amount of payments made to class members. Plaintiffs seek $2,550,000 for the

reasonable attorneys’ fees and costs incurred to date, 2 plus all additional reasonable fees

and costs incurred following this motion. The parties have not yet come to an agreement

on this amount, but have agreed to negotiate the amount of reasonable fees and costs in

good faith. Whether on agreement or otherwise, Plaintiffs will move this Court for

approval of reasonable attorneys’ fees and costs, pursuant to Federal Rule of Civil

Procedure 23(h) and 54(d)(2), simultaneously with their Motion for Final Approval of

the Settlement.

Plaintiffs’ Counsel Are Adequate Class Counsel

        28.     For the reasons explained in the following paragraphs and in the

accompanying declarations of Joshua S. Moskovitz, Rob Rickner, and Michael Spiegel,




        2 Each of Plaintiffs’ attorneys has kept contemporaneous time records throughout his/her work

on this case. This figure represents the sum of each attorney’s hours spent on this matter to date,
multiplied by that attorney’s regular hourly rate, plus the reasonable costs each attorney has incurred in
litigating this matter (for example, for deposition transcripts).



                                                         7
        Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 8 of 14




Kaufman Lieb Lebowitz & Frick LLP (“KLLF”), Hamilton Clarke, LLP, Rickner PLLC,

and Mr. Spiegel are adequate class counsel.

       29.    KLLF is a six-attorney litigation firm based in New York City focused on

civil rights cases. We represent clients across a broad range of civil rights matters,

including police abuse and wrongful convictions; employment discrimination and

housing discrimination; prison conditions and prisoners’ rights; disability

discrimination and abuse in group residential settings; and First Amendment issues. We

also represent clients in some commercial matters.

       30.    KLLF was founded in March 2020. Its four founding partners, including

Douglas Lieb and myself, all practiced for a combined two decades at Emery Celli

Brinckerhoff Abady Ward & Maazel LLP (“ECBAWM,” formerly known as Emery Celli

Brinckerhoff & Abady LLP) before founding KLLF. ECBAWM is widely recognized as a

preeminent civil rights litigation firm in New York and the nation. See, e.g., Scott v.

Quay, 338 F.R.D. 178, 189 (E.D.N.Y. 2021).

       31.    KLLF attorneys have served as class counsel in Betances v. Fischer, No. 11-

CV-3200 (S.D.N.Y.), a complex damages class action arising from DOCCS’s unlawful

imposition of post-release supervision when not ordered by a Court, and Saska v.

Metropolitan Museum of Art, Index No. 650775/2013 (Sup. Ct. N.Y. Cty.), a class action

arising from the Metropolitan Museum of Art’s deceptive practices in charging

admission fees inconsistent with local law.

       32.    Mr. Lieb and I are currently representing a putative class challenging a

facially discriminatory New York Department of Corrections and Community

Supervision policy barring incarcerated people with mental health disabilities from an




                                                 8
        Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 9 of 14




early release program. Caballero v. N.Y. Dep’t of Corr. & Cmty. Supervision, 20 Civ.

1470 (N.D.N.Y.).

       My Experience and Qualifications

       33.    I graduated from Yale Law School in 2012.

       34.    Following my graduation, I was the Legal Affairs intern at National Public

Radio (NPR), before clerking for the Honorable Anita B. Brody of the United States

District Court for the Eastern District of Pennsylvania.

       35.    I joined ECBAWM as an associate in September 2013 and practiced there

until co-founding KLLF in March 2020.

       36.    I am licensed to practice in New York and New Jersey, and am admitted to

the Southern, Eastern, and Northern Districts of New York and the Second Circuit Court

of Appeals.

       37.    I am an active member of the Civil Rights Committees of both the New

York City Bar Association and the Federal Bar Association. From approximately 2013-

2021, I was an active member of the National Police Accountability Project, an

organization made up of hundreds of plaintiffs’ attorneys nationwide who work on

police misconduct cases to provide training, support, and education on important civil

rights matters.

       38.    At ECBAWM, I worked on dozens of civil rights cases, including multiple

cases involving the false arrest and/or use of excessive force by police and corrections

officers. In those cases, I was responsible for the day-to-day management of the case,

typically leading the drafting of all pleadings and motion papers, reviewing and

producing documents, and taking depositions.




                                                9
       Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 10 of 14




       39.    During my six-plus years at ECBAWM, I achieved many successful

outcomes in complex civil rights cases involving police and/or prison misconduct. For

example, I was the primary attorney on a case resulting in a $750,000 settlement from

the City of New York involving a young man who lost his spleen after officers at Rikers

Island brutally assaulted him. Cruz v. City of New York, No. 15 Civ. 4801 (S.D.N.Y.). I

helped secure a $2.5 million settlement from the City of New York on behalf of a man

wrongfully convicted for a murder he did not commit, Fowler v. City of New York, No.

16 Civ. 6059 (E.D.N.Y.), and $495,000 for a woman whose arm was broken by police

officers during an unjustified traffic stop, Guzi v. City of New York, 13 Civ. 71711

(E.D.N.Y.).

       40.    I have taken dozens of depositions and has tried cases to victory. With Mr.

Lieb, I tried an excessive force/unlawful search case in the Eastern District of New York

that resulted in, among other things, $30,000 in punitive damages based upon an

adverse credibility finding against the defendant officers. Jenkins v. City of New York,

No. 19-CV-557 (E.D.N.Y.). After years of litigation in which I was the primary attorney

for the intervenor-plaintiff, I won summary judgment on liability against a cosmetic

surgeon who refused to treat a man living with AIDS, in violation of the Americans with

Disabilities Act and the New York City Human Rights Law; after a bench trial on

damages, the court awarded Plaintiff $125,000, the top end of Tier One emotional

distress damages. United States v. Asare, 15 Civ. 3556 (S.D.N.Y.).

       41.    Currently, I represent numerous clients in a variety of civil rights matters,

including cases involving police or corrections officer abuse. Along with co-counsel, I am

putative class counsel for a proposed class of people who were incarcerated in a

privately-run civil immigration detention center that, we allege, coerced detainees to


                                                10
         Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 11 of 14




provide labor in violation of state and federal law. Yeend, et al. v. Akima Global

Services, 20 Civ. 1281 (N.D.N.Y.). I represent a man whose nose was shattered and

whose jaw was dislocated by Rikers Island corrections officers. Grant v. City of New

York, 22 Civ. 10375 (S.D.N.Y.). I am also counsel for two brothers who were wrongfully

incarcerated for a combined 18 years in a wrongful conviction case in the Southern

District of West Virginia. Barnett v. Cabell County Commission et al., No. 3:22-CV-203

(S.D. W. Va.).

        Mr. Lieb’s Qualifications and Experience 3

        42.     Mr. Lieb graduated in 2013 from Yale Law School, where he was elected by

my peers as the editor-in-chief of the Yale Law Journal.

        43.     After graduation, Mr. Lieb clerked for Judge Kim McLane Wardlaw on the

United States Court of Appeals for the Ninth Circuit and Judge Vernon S. Broderick on

the United States District Court for the Southern District of New York.

        44.     Mr. Lieb joined ECBAWM in October 2015 and practiced there until co-

founding KLLF in March 2020.

        45.     Mr. Lieb is licensed to practice in New York, Connecticut, and California.

He is admitted to the Southern, Eastern, and Northern Districts of New York; the U.S.

Court of Appeals for the Second Circuit; the Northern District of California; and the

United States Court of Federal Claims.

        46.     Mr. Lieb has extensive experience in complex federal civil rights litigation,

with a particular focus on police, jail, and prison misconduct. At ECBAWM, Mr. Lieb

had primary day-to-day responsibility in representing four named plaintiffs in


3       Mr. Lieb has reviewed this declaration prior to its filing and has verified the truth and accuracy of
the representations about his qualifications and experience contained herein.



                                                         11
       Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 12 of 14




Washington v. City of New York, No. 18 Civ. 12306 (S.D.N.Y.), a case challenging the

systematic transfer of young New York City pretrial detainees ineligible for solitary

confinement to the Albany County Jail, where they were beaten and held in solitary.

After receiving a 92-page decision from Chief Judge McMahon denying Defendants’

motion to dismiss and referring the matter to state and federal prosecutors for

investigation, the case resolved for a settlement of approximately $1,000,000 and an

agreement not to transfer any additional detainees to Albany and to provide written

notice to any detainees transferred to other jails, which Chief Judge McMahon described

as an “excellent result,” Dkt. #163.

       47.    Mr. Lieb also had primary day-to-day responsibility for a jail excessive

force case that resulted in a settlement of $1,250,000 for an inmate beaten by correction

officers, which is the largest single-plaintiff excessive force settlement of which he is

aware, after inquiry, in a non-death case arising from misconduct in New York City jails,

Guadalupe v. City of New York, No. 15 Civ. 220 (S.D.N.Y.), and a malicious

prosecution/fabrication of evidence case that resulted in a $725,000 pre-deposition

settlement for two years of wrongful pretrial detention, Mitchell v. Constantino, 17 Civ.

3328 (S.D.N.Y.).

       48.    Mr. Lieb currently represent plaintiffs in two wrongful conviction cases in

the District of Connecticut arising from a combined 47 years of wrongful incarceration.

Birch v. Town of New Milford, No. 20 Civ. 1790 (D. Conn.) (co-lead counsel); Horn v.

City of New Haven, No. 18 Civ. 1502 (D. Conn.). He is lead counsel for two brothers who

were wrongfully incarcerated for a combined 18 years in a wrongful conviction case in

the Southern District of West Virginia. Barnett v. Cabell County Commission et al., No.

3:22-CV-203 (S.D. W. Va.).


                                                 12
       Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 13 of 14




       49.    In addition to this case, Mr. Lieb is currently lead counsel in prisoners’

rights cases involving deficient medical care at a federal prison, Almonte v. United

States of America, No. 3:21-CV-959 (D. Conn.) and negligent supervision leading to

inmate-on-inmate assault in a state prison, McCollough v. State, Claim No. 136227

(N.Y. Ct. Claims).

       50.    Mr. Lieb has tried several cases to favorable verdicts in his legal career. In

2022, he was co-lead counsel in a postconviction trial that resulted in the vacatur of a

28-year old wrongful homicide conviction, in which the court ruled that the petitioner

had been denied a fair trial and that newly discovered forensic scientific evidence would

likely have changed the outcome. Carmon v. State, No. NNH-CV20-6107902, 2022 WL

17423683 (Conn. Super. Ct. Nov. 30, 2022). Together, Mr. Lieb and I tried an unlawful

search / false arrest case in the Eastern District of New York that resulted in, among

other things, $30,000 in punitive damages based upon an adverse credibility finding

against the defendant officers. Jenkins v. City of New York, No. 19-CV-557 (E.D.N.Y.).

Mr. Lieb also tried two misdemeanor criminal cases resulting in not-guilty verdicts, a

trial on damages in a commercial dispute, and a post-conviction trial in a habeas matter

in Connecticut.

       51.    Mr. Lieb has personally taken, as the questioning attorney, at least 100

depositions in police misconduct, jail misconduct, and prison misconduct cases alone,

including of supervisory defendants and departmental leadership, firearms examiners,

police practices experts, and Rule 30(b)(6) witnesses.

Conclusion

       52.    For the reasons above and explained in detail in the accompanying

Memorandum of Law, I respectfully request that the Court so-order the Stipulation of


                                                13
       Case 1:20-cv-10291-CM Document 167 Filed 02/28/23 Page 14 of 14




Settlement and appoint KLLF, along with Hamilton Clarke, LLP, Rickner PLLC, and

Michael Spiegel, as co-lead class counsel.

      I declare under penalty of perjury that the foregoing is true and correct.

 Dated: February 28, 2023
       New York, NY
                                                __________________________
                                                Alison Frick




                                               14
